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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

RICARDO BROWN

      Plaintiff,
                                          Case Number: 8:24-cv-00087
      v.

CLARITY SERVICES, INC.

      Defendant.
____________________________________/

                         NOTICE OF SETTLEMENT

      COMES NOW, the Plaintiff, pursuant to Local Rule 3.09, and hereby files this

Notice of Settlement.


      Dated February 29, 2024,

                                                  /s/ Christian E. Cok
                                                  Christian E. Cok, Esq.
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                                                  Counsel for Plaintiff
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                           CERTIFICATE OF SERVICE

       I hereby certify that on February 29, 2024, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF System. I also certify that the foregoing
document is being served this day to counsel for Defendant, via e-notice, email or US
Postal mail.


                                                     /s/Christian E. Cok
                                                     Christian E. Cok, Esq.
                                                     Florida Bar Number: 1032167
